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                                                                         April 30, 2025

VIA ECF
Hon. Arun Subramanian
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

        Re:      United States v. Combs, 24-cr-542 (AS)

Dear Judge Subramanian:
        We respectfully write this joint letter following the parties’ proposed voir dire requests from
the government and the defense (ECF Nos. 272, 274). The parties have met and conferred and note
their agreements and disputes below.
Defense’s Position
      The defense has no objections to the government’s proposed questions nos. 1–2, 4–20, 25–
26, 30–31, 33, 35–37, and 40–41.1 The defense requests the following changes to the
Government’s Proposed Examination of Jurors (Dkt. 274):
        A.       Proposed Modifications to the Government’s Voir Dire

        Government’s Proposed Section A, The Charges: The defense respectfully requests that
this section be modified to read “the Summary of the Case” that is in the court’s questionnaire at
pages 1-2.

      Government’s Proposed Question 3: The defense objects to the first sentence of this
question, which reads, “It is not a particularly pleasant duty to find another individual guilty of
committing a crime.” The defense respectfully requests that this sentence not be read. The
government consents to this request.

      The parties have agreed to rephrase the entirety of this question to read: “If the evidence
proved a defendant’s guilt beyond a reasonable doubt, would you have any difficulty returning a
guilty verdict? And if the evidence failed to prove a defendant’s guilt beyond a reasonable doubt,
would you have any difficulty returning a not guilty verdict?”

       Government’s Proposed Question 21: The defense objects to the first sentence of this
question, which reads, “You may hear evidence in this case relating to acts of violence, including
intimate partner violence and other assaults.” The defense respectfully requests that this sentence
be modified to read, “You may hear evidence in this case relating to allegations of acts of violence,
including intimate partner violence and other assaults.” The government consents to this request.

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 As indicated in the Government’s April 28, 2025 letter, the Court need not include Government Proposed Question
24 or Defense Proposed Question 23.
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       Government’s Proposed Question 22: The defense objects to the first sentence of this
question, which reads, “You may hear evidence in this case relating to sexual assault, including
rape.” The defense respectfully requests that this sentence be modified to include “allegations of”
mirroring the defense’s proposal to Question 21. The government consents to this request.

        Government’s Proposed Question 23: The defense objects to the first sentence of this
question, which reads, “You may hear evidence in this case relating to the payment of commercial
sex workers in exchange for sex.” The defense respectfully requests that this sentence be modified
to read, “You may hear evidence in this case relating to allegations of payments to commercial sex
workers in exchange for sex.” The government consents to this request.

        Government’s Proposed Question 29: The defense objects to the sentence of this question
reading, “These searches were perfectly legal.” The defense respectfully requests that this
sentence be modified to read, “These searches were lawful.” The government consents to this
request.

        Government’s Proposed Question 32: The defense objects to the inclusion of the word
“merely” in the third and fourth sentences of this question. The defense respectfully requests that
the sentences be modified to read, “Would you be more likely to believe a witness solely because
she testified under a different name? Would you be less likely to believe a witness solely because
she testified under a different name?” The government consents to this request.

         Government’s Proposed Question 34: The defense objects to this question, which reads,
“Would you be unable to follow my instructions that the Government is not required to use any
particular investigative technique uncovering evidence of or prosecuting a crime?” The defense
respectfully requests that this be modified to remove the double negative and instead read, “Would
you be able to follow my instruction that the Government is not required to use any particular
investigative technique uncovering evidence of or prosecuting a crime?” The government consents
to this request.

        Government’s Proposed Question 38: The defense requests that these questions are asked
at the beginning of voir dire, rather than the end, similar to past voir dire that undersigned defense
counsel has conducted. The government objects to this request.

       Government’s Proposed Question 39: The defense requests that the phrase “fellow
members of the jury” be inserted before “members of your own family.” The defense respectfully
requests that this be modified to read “The rule about not discussing the case with others includes
discussions even with fellow members of the jury, members of your own family, and your friends.”
The government consents to this request.

       B.      Proposed Substitutions to the Government’s Voir Dire

      Government’s Proposed Question 27: The defense objects to this question, which reads,
You may hear testimony from law enforcement officers and other law enforcement personnel.
Would you have any difficulty assessing the credibility of a law enforcement witness just like you



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would any other witness?” The defense instead prefers the Defense’s Proposed Question 28, which
reads, “There is going to be testimony from law enforcement officers in this case. Would you find
a law enforcement officer’s testimony more credible or less credible than other witnesses?” The
Government requests that its proposed formulation be adopted.

        Government’s Proposed Question 28: The defense objects to this question, which reads,
“You may hear testimony from witnesses who are alleged victims of sexual assault, sexual abuse,
and/or sex trafficking. Would you have any difficulty assessing the credibility of such a witness
just like you would any other witness?” The defense instead prefers the defense’s Proposed
Question 29, which reads, “You are also going to hear testimony from alleged victims in this case.
Would you find the testimony of an alleged victim more credible or less credible than other
witnesses?” The government requests that its proposed formulation be adopted.

       C.      Proposed Modifications to the Defense’s Voir Dire

        In meet and confers with the government, the defense has agreed to modify their proposed
voir dire questions. First, we agree to omitting defense proposed questions 12, 15 and 18(a)..

        Defense’s Proposed Question 20 and Question 21: The defense and government agree that
these questions should be modified to read, “There may be evidence in this case about people
having multiple sexual partners. Is there anything about this that would make it difficult for you to
serve as a fair and impartial juror in this case?”

       Defense’s Proposed Question 10: The defense agrees to remove Proposed Questions 24
and 25 and instead add “sex crimes” to Proposed Question 10.

         Defense Proposed Question 19: The defense agrees to modify the phrasing of this question
and its subparts to read as follows, which the government has proposed: “The defendant and certain
witnesses in this case work in the hip hop rap music industry. Do you have any opinions about the
hip hop rap music industry or artists that would affect your ability to serve as a fair and impartial
juror in this case?” The defense consents to this request.

      Defense Proposed Questions 26 and 27: The defense and government agree to use the
government’s language in Government Proposed Questions 14 and 15.

      Defense’s Proposed Question 30: The defense and government agree to use the
government’s language in the Government’s Proposed Question #4.

Government’s Position

        Government’s Proposed Section A, The Charges: The Government respectfully requests
that the Court read the proposed summary of the charges contained in its proposed examination of
jurors. It is common and helpful for a Court to summarize in a neutral manner the specific charges
contained in an indictment in order to ensure that prospective jurors can identify any specific
concerns related to the charges in the case that may be relevant to their ability to serve as fair and
impartial jurors. The defense’s summary of the case fails to clarify, among other things, the full



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list of charges, the timeframe of the charges, that the alleged victims are adults, and that the
transportation charges involve alleged male commercial sex workers. The Government is open to
making revisions to its summary to ensure neutrality of the language but maintains that the
additional information in its proposal is relevant to voir dire.

        Government’s Proposed Questions 27 and 28: The Government respectfully submits that
its proposed formulation of these questions takes a more neutral tone without suggesting through
the phrasing of the question that any prospective juror might or should favor or disfavor the
testimony of witnesses in these categories. The relevant inquiry is whether a juror would have any
difficulty assessing the credibility of these witnesses, which is what the Government’s proposed
language asks.

         Government’s Proposed Question 38: In order to avoid wasted time, the Government
respectfully requests that these questions only be asked after a prospective juror has answered all
questions relating to potential strikes for cause and the Court has determined that the prospective
juror is qualified to sit on the jury. Through this method, the Court will only ask these questions,
which relate to the exercise of peremptory strikes, of jurors who will not be struck for cause. It
will also ensure that information relevant only to peremptory strikes is not taken into consideration
when the parties raise challenges for cause.

       Defense Proposed Questions 8b-e, 10, 11, 13, 16: The Government objects to these
questions as either irrelevant to the ability to serve as a juror, duplicative of other questions in the
proposed voir dire and questionnaire, and/or unnecessary to the exercise of peremptory strikes. In
addition, the Government objects to 16 as so vague and overbroad as to confuse prospective jurors.

       Defense Proposed Question 17: The Government objects to this question as unnecessarily
invasive of juror privacy and seeking broader information than necessary to qualify a jury. The
Government instead prefers its question on this topic in Government Proposed Question 26.The
defense does not believe Government Proposed Question 26 adequately explores drug and alcohol
addiction, which we expect to be prevalent in the trial testimony about both the defendant and
multiple government witnesses.

       Defense Proposed Question 20: The Government objects to this question as unnecessarily
invasive of juror privacy, vaguely worded, overly broad, and (to the extent minimally relevant)
duplicative of other questions in the proposed voir dire and questionnaire. The defense and
government have agreed to modify this question and Question 21, as reflected on page 3.




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      We thank the Court for its consideration.

                                                         Respectfully submitted,




                                                         Marc Agnifilo
                                                         Teny Geragos
                                                         Alexandra Shapiro
                                                         Jason Driscoll
                                                         Anna Estevao
                                                         Brian Steel


                                                         JAY CLAYTON
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